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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH/JP/JS/AXB                                      610 Federal Plaza
F. #2022R01030                                     Central Islip, New York 11722



                                                   September 5, 2023

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (JS)

Dear Judge Seybert:

               The government respectfully writes in advance of the status conference
scheduled in this matter for September 7, 2023 at 12:00 p.m. to request that the Court
adjourn the status conference to October 27, 2023 at 10:30 a.m. and enter an order of
excludable delay pursuant to Title 18, United States Code, Section 3161(h)(7)(A) from
September 7, 2023 through October 27, 2023. The defendant joins in this request.

               Since the last status conference in this matter on June 30, 2023, the defendant
has continued to review the voluminous discoverable material previously produced by the
government and requires additional time to continue reviewing that material. In addition, the
government anticipates making another substantial production of discoverable material
pursuant to Federal Rule of Criminal Procedure 16 this week. Defense counsel has indicated
that he will need additional time to review that material as well. Further, the parties have
continued to discuss possible paths forward in this matter. The parties wish to have
additional time to continue those discussions.

              Accordingly, the parties are jointly requesting that the Court exclude the time
from September 7, 2023 through October 27, 2023, to allow defense counsel additional time
to review discovery materials and for the parties to continue discussing paths forward in this
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matter. See 18 U.S.C. § 3161(h)(7)(A) & (B)(iv) (time is properly excluded when the failure
to exclude would deny counsel for the defendant or the attorney for the government the
reasonable time necessary for effective preparation). The parties respectfully submit that the
ends of justice served by such an excludable delay outweigh the best interests of the public
and the defendant in a speedy trial.



                                             Respectfully submitted,

                                             BREON PEACE
                                             United States Attorney


                                          By:__________________________
                                             Ryan C. Harris
                                             Anthony Bagnuola
                                             Laura Zuckerwise
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                                             (718) 254-7000

                                             COREY R. AMUNDSON
                                             Chief, Public Integrity Section
                                             U.S. Department of Justice


                                          By:__________________________
                                             Jacob R. Steiner
                                             John P. Taddei
                                             Trial Attorneys, Public Integrity Section
                                             U.S. Department of Justice


cc:    Joseph Murray, Esq. (by ECF)
       Clerk of the Court (JS) (by ECF)




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